                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              COLUMBIA DIVISION


UNITED STATES OF AMERICA                              )
                                                      )
                                                      )
v.                                                    )      Criminal No. 1:12-00001
                                                      )      Judge Trauger
JIKINTE LASHANE MORRIS                                )
                                                      )

                                              ORDER

        The court is in receipt of a letter with attached “Motion to Suppress And Request For

Franks Hearing” from defendant Jikinte Morris dated August 15, 2012.

        It is hereby ORDERED that the Clerk shall file this letter and the attachment as part of

the record in this case, but the “Motion” will be considered correspondence from the defendant,

not a motion filed in the case. The Clerk is further directed to furnish to the defendant and to

counsel for all parties a copy of the letter with attachment and this Order.

        It is so ORDERED.

        Enter this 20th day of August 2012.



                                                      ___________________________________
                                                              ALETA A. TRAUGER
                                                            United States District Judge




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